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   Michael H. Meyer, Esq. SBN 82336
   Chapter 13 Standing Trustee
   P.O. Box 28950
   Fresno, CA 93729-8950
   Phone: (559) 275-9512 Fax: (559) 275-9518
                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF CALIFORNIA

   IN RE:
                                                                   CASE NO: 15-14228-B-13F
   OSCAR GUTIERREZ
                                                                   CHAPTER 13


   Debtor(s)                                                       NOTICE OF FILED CLAIMS


       In accordance with LBR 3007-1(d)(2), Michael H. Meyer, Standing Chapter 13 Trustee, has compiled
  a list of the claims filed in the above referenced case. The list of claims is attached to this notice. The Notice
  of Filed Claims is being served on the debtor(s) and the debtor(s) attorney so they may review the same and,
  in general, determine whether to (1) object to any claims (2) file a claim for any creditor that failed to file a
  claim (3) file any motions to value or avoid liens or (4) modify the plan to reconcile the plan to the filed claims.
       Debtor(s) and the attorney for the debtor(s) are directed to LBR 3007-1(d)(2) for particulars. The Local Rules
  of Pratice are available on the court's web site, www.caeb.uscourts.gov , and at the court's public counters.

      The Local Rules of Practice provide in part;
       (1) Objections to claims shall be filed and served no later than 60 calendar days after service by the trustee of
  the Notice of Filed Claims...any claims not timely objected to shall continue to be paid by the trustee pursuant to the
  terms of the confirmed plan.
       (2) If the Notice of Filed Claims includes allowed claims which are not provided for in the Plan, or which will
  prevent the Plan from completing timely, the debtor shall file a motion to modify the plan to make the necessary
  adjustments, changes, deletions or other modifications. The motion shall be filed and served no later than 90 days after
  service by the trustee of the Notice of Filed Claims.
       (3) If a creditor fails to file a proof of claim within the time required by FRBP 3002(c) or Section 502, the debtor
  or the trustee MAY (but are not required to) file a proof of claim on behalf of the creditor pursuant to FRBP 3004. The
  time for filing such claim is extended to 60 calendar days after service on the debtor or his counsel of the Notice of
  Filed Claims.

  Please note the following important dates:

  Deadline to File a Proof of Claim:
    Creditors:                                                      March 07, 2016
    Governmental Unit:                                              April 27, 2016

  Deadline for debtors to file claims per general order:            September 12, 2016
  Deadline to object to claims per general order:                   September 12, 2016
  Deadline to file modifications, value collateral, avoid liens:    October 12, 2016

  The above dates are provided for convenience of the parties. The Chapter 13 trustee makes no warranty as to the
  information herein. The information may be incomplete or incorrect. The debtor and the debtor(s) attorney should
  review the courts file and calculate all relevent dates.




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   The following definitions will help you understand the attached claims listing.

   "Account Nbr.": Refers usually to the last 4 digits of the creditor's account number.

   "Approved Claim Amt": Refers to the approved claim amount to be paid to the creditor.

   "Category": Describes the claim such as "SPECIAL NOTICES" refers to parties who may be entitled to special notice
   or have requested "SPECIAL NOTICE". "MORTGAGE" refers to claims that are mortgage claims.

   "Claim No": Refers to the claim number assigned by the trustee, not the court's claim number which will be different.

   "Class": Refers to the type of claim: secured, priority, unsecured.

   "Creditor Name": Refers to the current name and address the trustee has for the creditor. The creditor may have
   assigned the claim and therefore the name may not be familiar.

   "Debt Scheduled": Refers to the amount listed for the debt by the debtor in the Schedule of Creditors filed at court.

   "Debt Per Filed Claim": Refers to the amount listed on the claim filed by or on behalf of the creditor.

   "Pay%": Refers to percentage of the approved claim amount to be paid to the creditor.

   "Status": Refers to status of the claim: "release" pays the claim as indicated, "accrue" holds funds for possible future
   payment, "ignore" means the claim will not be paid at this time.

   "Int Rate": Refers to the rate of interest paid on the claim as approved by the court.




       DATED: July 14, 2016
                                                              /s/Michael H. Meyer
                                                              MICHAEL H. MEYER
                                                              CHAPTER 13 STANDING TRUSTEE




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  IN RE:
    OSCAR GUTIERREZ                                                               CASE No. 15-14228-B-13F

    SS #1 XXX-XX-0751
                                   ATTACHMENT TO NOTICE OF FILED CLAIMS
  Claim No.: 001          Status: Release  Pay Seq: 24    Pay%: 100.0000 Int Rate:    .0000         PAID DIRECT
  Class: Secured            Category: Automobile
  Creditor Name: ADONEY DIAZ                                                Debt Scheduled:            36,470.00
                 PO BOX 418                                                 Debt Per Filed Claim:
                 CHOWCHILLA, CA 93610                                       Approved Claim Amt:
                                                                            Date Claim Filed:           Not Filed
  Claim No.: 002          Status: Release   Pay Seq: 33   Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: ADONEY DIAZ                                                Debt Scheduled:             3,000.00
                 PO BOX 418                                                 Debt Per Filed Claim:
                 CHOWCHILLA, CA 93610                                       Approved Claim Amt:
                                                                            Date Claim Filed:           Not Filed
  Claim No.: 003          Status: Release   Pay Seq: 24   Pay%: 100.0000 Int Rate:    .0000         PAID DIRECT
  Class: Secured            Category: Mortgage
  Creditor Name: CARLOS GARCIA                                              Debt Scheduled:           133,000.00
                 1190 11TH ST                                               Debt Per Filed Claim:
                 ORANGE COVE, CA 93646                                      Approved Claim Amt:
                                                                            Date Claim Filed:           Not Filed
  Claim No.: 004          Status: Release   Pay Seq: 33   Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: COMMERCIAL TRADE BUREAU                                    Debt Scheduled:                 792.00
                 PO BOX 10389                                               Debt Per Filed Claim:
                 BAKERSFIELD, CA 93389                                      Approved Claim Amt:
                                                                            Date Claim Filed:           Not Filed
  Claim No.: 005          Status: Release  Pay Seq: 22    Pay%: 100.0000 Int Rate:    4.0000
  Class: Secured            Category: Automobile
  Creditor Name: CONSUMER PORTFOLIO SERVICES INC                            Debt Scheduled:             2,838.00
                 P O BOX 57071                                              Debt Per Filed Claim:       3,145.83
                 IRVINE, CA 92619                                           Approved Claim Amt:         3,145.83
                                                                            Date Claim Filed:         01/07/2016
  Claim No.: 006          Status: Release   Pay Seq: 33   Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: DN RBRTO JWL                                               Debt Scheduled:             1,278.00
                 ATTN BANKRUPTCY                                            Debt Per Filed Claim:
                 1020 CALLE RECODO STE 100                                  Approved Claim Amt:
                 SAN CLEMENTE, CA 92673                                     Date Claim Filed:           Not Filed
  Claim No.: 007          Status: Release   Pay Seq: 33   Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: JOSE LUIS GUTIERREZ                                        Debt Scheduled:                  None
                 211 CENTER ST                                              Debt Per Filed Claim:
                 ORANGE COVE, CA 93646                                      Approved Claim Amt:
                                                                            Date Claim Filed:           Not Filed




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  IN RE:
    OSCAR GUTIERREZ                                                                CASE No. 15-14228-B-13F

    SS #1 XXX-XX-0751
                                   ATTACHMENT TO NOTICE OF FILED CLAIMS
  Claim No.: 008          Status: Release   Pay Seq: 33    Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: KINGS CREDIT SERVICES                                       Debt Scheduled:                 391.00
                 ATTN BANKRUPTCY                                             Debt Per Filed Claim:
                 PO BOX 950                                                  Approved Claim Amt:
                 HANFORD, CA 93232                                           Date Claim Filed:          Not Filed
  Claim No.: 009          Status: Release   Pay Seq: 33    Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: OPORTUN PROGRESO                                            Debt Scheduled:             2,269.00
                 1600 SEAPORT BLVD                                           Debt Per Filed Claim:
                 REDWOOD CITY, CA 94063                                      Approved Claim Amt:
                                                                             Date Claim Filed:          Not Filed
  Claim No.: 010          Status: Release   Pay Seq: 33    Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: ROBERTO ALPORA                                              Debt Scheduled:             3,000.00
                 1797 BONARDO AVE                                            Debt Per Filed Claim:
                 TULARE, CA 93274                                            Approved Claim Amt:
                                                                             Date Claim Filed:          Not Filed
  Claim No.: 011          Status: Release   Pay Seq: 33    Pay%: 4.1900    Int Rate:   .0000
  Class: Unsecured          Category: General Unsecured
  Creditor Name: ESTATE OF YOLANDA GARCIA                                    Debt Scheduled:           133,000.00
                 c/o CARLOS GARCIA                                           Debt Per Filed Claim:
                 1190 11TH STREET                                            Approved Claim Amt:
                 ORANGE COVE, CA 93646                                       Date Claim Filed:          Not Filed
  Claim No.: 012          Status: Release    Pay Seq: 30   Pay%: 100.0000 Int Rate:    .0000
  Class: Priority           Category: State Taxes
  Creditor Name: FRANCHISE TAX BOARD                                         Debt Scheduled:                 157.00
                 PO BOX 942867                                               Debt Per Filed Claim:
                 SACRAMENTO, CA 94267                                        Approved Claim Amt:
                                                                             Date Claim Filed:          Not Filed
  Claim No.: 013          Status: Release    Pay Seq: 30   Pay%: 100.0000 Int Rate:    .0000
  Class: Priority           Category: State Taxes
  Creditor Name: FRANCHISE TAX BOARD                                         Debt Scheduled:                 137.00
                 PO BOX 942867                                               Debt Per Filed Claim:
                 SACRAMENTO, CA 94267                                        Approved Claim Amt:
                                                                             Date Claim Filed:          Not Filed
  Claim No.: 014          Status: Release    Pay Seq: 30   Pay%: 100.0000 Int Rate:    .0000
  Class: Priority           Category: Federal Taxes
  Creditor Name: IRS                                                         Debt Scheduled:             1,328.00
                 BK DEPT                                                     Debt Per Filed Claim:
                 PO BOX 7346                                                 Approved Claim Amt:
                 PHILADELPHIA, PA 19101-7346                                 Date Claim Filed:          Not Filed




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  IN RE:
    OSCAR GUTIERREZ                                                                        CASE No. 15-14228-B-13F

    SS #1 XXX-XX-0751
                                   ATTACHMENT TO NOTICE OF FILED CLAIMS
  Claim No.: 015          Status: Release    Pay Seq: 30           Pay%: 100.0000 Int Rate:     .0000
  Class: Priority           Category: Federal Taxes
  Creditor Name: IRS                                                                 Debt Scheduled:               1,040.00
                 BK DEPT                                                             Debt Per Filed Claim:
                 PO BOX 7346                                                         Approved Claim Amt:
                 PHILADELPHIA, PA 19101-7346                                         Date Claim Filed:             Not Filed
  Claim No.: 016          Status: Release    Pay Seq: 30           Pay%: 100.0000 Int Rate:     .0000
  Class: Priority           Category: Federal Taxes
  Creditor Name: IRS                                                                 Debt Scheduled:                 942.00
                 BK DEPT                                                             Debt Per Filed Claim:
                 PO BOX 7346                                                         Approved Claim Amt:
                 PHILADELPHIA, PA 19101-7346                                         Date Claim Filed:             Not Filed
  Claim No.: 799          Status: Release    Pay Seq: 13           Pay%: 100.0000 Int Rate:     .0000
  Class: Attorney           Category: Attorney of Record
  Creditor Name: GLEN E GATES                                                        Debt Scheduled:               7,100.00
                 PASCUZZI PASCUZZI & STOKER                                          Debt Per Filed Claim:
                 2377 W SHAW AVE STE 101                                             Approved Claim Amt:
                 FRESNO, CA 93711                                                    Date Claim Filed:             Not Filed
 TOTALS for claims to be paid through plan:
                                                            CLASS OF CLAIMS
                                      Secured               Priority    Unsecured   Administrative      Special     Attorney
     Debt Scheduled:                 2,838.00           3,604.00       143,730.00             .00            .00   7,100.00
     Debt Per Filed Claims:          3,145.83                .00              .00             .00            .00        .00
     Approved Claim Amt:             3,145.83                .00              .00             .00            .00        .00




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